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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


 STATE OF TEXAS,

                    Plaintiff,
                                                         Case No. 4:24-cv-499
         v.

 U.S. DEPARTMENT OF LABOR, et al.,

                    Defendants.


 DEFENDANTS’ OPPOSITION TO MOTION FOR LEAVE TO FILE AMICUS BRIEF

       Defendants oppose the late motion for leave to file an amicus brief, ECF No. 25, by Plano

Chamber of Commerce et al. (the “Business Organizations”). The motion is untimely, and the

filing of an amicus brief at this stage would substantially prejudice Defendants. The Business

Organizations waited until 18 days after Texas filed its motion for preliminary injunctive relief,

four days after Defendants filed their opposition to Texas’s motion, and with the hearing scheduled

for that motion scheduled for the next business day to seek leave to file an amicus brief. The Court

should deny the motion because it is untimely and would prejudice Defendants, and should strike

the brief that the Business Organizations filed without leave, ECF No. 26.

       The State of Texas, No. 4:24-cv-468, and the Business Organizations, No. 4:24-cv-499,

filed two separate suits in this Court challenging the Department of Labor’s rule, Defining and

Delimiting the Exemptions for Executive, Administrative, Professional, Outside Sales, and

Computer Employees, 89 Fed. Reg. 32,842 (2024) (the “Rule”). After the related cases were

assigned to the same judicial officer, the Court entered an order, ECF No. 9, that the parties respond

to its tentative plan to consolidate the two cases, among other issues. The Business Organizations

advised the Court of their support for consolidation and requested “the opportunity to file a brief


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in support of Texas’s motion within the established time frame.” Advisory, ECF No. 8, Plano

Chamber of Commerce v. Su, No. 4:24-cv-468. Defendants requested that the Court defer

consolidation until after it decided Texas’s pending motion for preliminary injunctive relief and

noted that “allowing the Business Organizations to submit a brief in support of Texas’s motion

would . . . prejudice Defendants at this stage.” Defs.’ Advisory, ECF No. 13. The Court did not

consolidate the two related cases, but instead entered a briefing schedule, ECF No. 14, that did not

permit the Business Organizations leave to submit an amicus brief, despite their request for one.

       District courts often look to Federal Rule of Appellate Procedure 29 to govern amicus

filings in the trial court. That rule provides that “[a]n amicus curiae must file its brief, accompanied

by a motion for filing when necessary, no later than 7 days after the principal brief of the party

being supported is filed.” Fed. R. App. P. 29(a)(6). “The concerns of necessity and timeliness

which undergird Rule 29 appear no less important in the district court than in the court of appeals.”

Equine Guardian Ass’n v. U.S. Army, No. 2:17-CV-0980, 2019 WL 362598, at *3 (W.D. La. Jan.

28, 2019) (alteration omitted) (quoting Abu-Jamal v. Horn, 2000 WL 1100784, at * 5 (E.D. Pa.

Aug. 7, 2000)); see Texas v. United States, No. 6:21-CV-003, 2021 WL 2172837, at *2 (S.D. Tex.

Mar. 5, 2021) (denying late-filed motion for leave to file amicus brief after applying Rule 29).

       Allowing the Business Organizations leave to file an amicus brief at this stage would

substantially prejudice Defendants. The purpose of the deadline in Rule 29 is to allow “[t]he

opposing party [to] have sufficient time to review arguments made by the amicus and address them

in the party’s responsive pleading.” Committee Notes on Rules—1998 Amendment, Fed. R. App.

P. 29. Defendants have already filed their opposition to Texas’s motion and so will have no

opportunity to address the Business Organizations’ arguments. That a hearing on Texas’s motion

for preliminary injunctive relief is scheduled for the next business day from today only increases




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that prejudice, for Defendants do not have sufficient time to analyze and respond to the proposed

amicus brief ahead of that hearing, much less to file a written response.

       Moreover, the Business Organizations have an adequate, alternative avenue for submitting

their legal arguments about the challenged Rule to the Court: they may file a motion for summary

judgment in their own challenge to the Rule. Undersigned counsel has conferred with counsel for

the Business Organizations regarding potential expedited summary-judgment briefing on multiple

occasions, including as recently as June 14, 2024, and has proposed briefing schedules for the

parties’ agreement. Particularly where the Business Organizations have elected not to seek

preliminary injunctive relief against the Department’s Rule in their existing lawsuit, they will not

be prejudiced if the Court denies their motion. The Business Organizations also fail to offer any

changed circumstances from the time that the Court entered a scheduling order without granting

them leave to file the brief in support of Texas that they requested in their advisory to the Court.

       The Business Organizations have waived their right to “speak to the irreparable harm the

2024 Rule will impose on employers in the private sector in the absence of immediate injunctive

relief,” Motion at 4, by not moving for preliminary relief in their challenge to the Rule. The Court

should not countenance this end-run around the requirements of Federal Rule of Civil Procedure

65. Accord 11A WRIGHT & MILLER § 2948.1 (“[D]elay by plaintiff after learning of the

threatened harm . . . may be taken as an indication that the harm would not be serious enough to

justify a preliminary injunction.”).

       Due to the prejudice that the government would face, Defendants respectfully request that

the Court deny the untimely motion for leave to file an amicus brief and strike the brief filed

without leave, ECF No. 26.




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Dated: June 21, 2024                       Respectfully submitted,

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